          Case 7:19-cr-00260-DC Document 21 Filed 01/08/20 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                           MIDLAND-ODESSA DIVISION

United States of America                        §
                                                §
vs.                                             §      NO: MO:19-CR-00260(1)-DC
                                                §
(1) John Gene Mitchell                          §


                         ORDER SETTING STATUS CONFERENCE


            IT IS HEREBY ORDERED that the above entitled and numbered case is set for
Friday, January 17, 2020 at 01:30 PM, in Midland Magistrate Courtroom, on the First Floor of
the United States Courthouse, 200 E. Wall, Midland, TX .

            IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Further, counsel for the
defendant shall notify the defendant of this setting. If the defendant is on bond, he/she
shall be present.


IT IS SO ORDERED this 8th day of January, 2020.




                                                    ______________________________
                                                    RONALD C. GRIFFIN
                                                    UNITED STATES MAGISTRATE JUDGE
